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          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF FLORIDA
                     TALLAHASSEE DIVISION

RANDY LAGENE SMITH,

             Plaintiff,

v.                                                   CASE NO. 4:05cv99-RH/WCS

MICHELLE GILL,

             Defendant.

_______________________________/


                             ORDER OF DISMISSAL


      Plaintiff was convicted in state court and was being supervised by the

defendant probation officer. Plaintiff submitted to a drug test, which came back

positive, and he was sentenced to a term in jail for violating his conditions of

supervision by using drugs. Plaintiff now brings this action under 42 U.S.C. §1983

asserting the state’s drug testing procedures are unreliable and that he should not

have been found guilty of violating his conditions of supervision. Plaintiff seeks

an award of damages.

      The case is before the court on the magistrate judge’s report and

recommendation (document 6) and the objections thereto (document 7). I have

reviewed de novo the issues raised by the objections.
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         The report and recommendation concludes that the action should be

dismissed under the doctrine of Heck v. Humphrey, 512 U.S. 477, 487, 114 S. Ct.

2364, 129 L. Ed. 2d 383 (1994). See also Wilkinson v. Dotson, 125 S. Ct. 1242

(2005); Edwards v. Balisok, 520 U.S. 641, 648-49, 117 S. Ct. 1584, 137 L. Ed. 2d

906 (1997). Under Heck, a person in custody pursuant to a criminal sentence

cannot properly pursue a civil rights action that, if successful, would necessarily

call into question the validity of the conviction; any challenge to the lawfulness of

such custody must, instead, be brought by petition for writ of habeas corpus.

         It now appears, however, that plaintiff may not still be in custody on the

violation conviction.1 Supreme Court decisions can be cited on both sides of the

issue of whether the Heck doctrine bars an action by a state offender who is not in

custody or otherwise subject to a criminal justice sentence susceptible to challenge

by petition for writ of habeas corpus. Compare, e.g., Heck, 512 U.S. at 490 n.10

(opinion for the Court) (stating action is barred even after plaintiff has completed


         1
         A person is in “custody,” for purposes of the availability of habeas relief,
not just when he or she is in physical custody, but also when he or she is under
supervision. See, e.g., Wright & Miller, 3 Fed. Practice & Procedure Crim. 3d,
§596 (2004) (“[A] defendant is regarded as still in custody though he is free on
parole. The same is true of a defendant who has been put on probation.”); see also
Dill v. Holt, 371 F.3d 1301, 1303 (11th Cir. 2004) (noting that “a prisoner who is
placed on parole is still ‘in custody’ under the unexpired part of his state sentence
for purposes of the habeas statute”) (citing Jones v. Cunningham, 371 U.S. 236,
243, 83 S. Ct. 373, 377, 9 L. Ed. 2d 285 (1963)). A person who is in “custody” for
habeas purposes is, of course, also in “custody” for purposes of the Heck doctrine.
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service of sentence) with Spencer v. Kemna, 523 U.S. 1, 19, 118 S. Ct. 978, 140 L.

Ed. 2d 43 (1998) (Souter, J., concurring for four justices) (stating that action is not

barred if plaintiff cannot seek relief from conviction because he is not in custody)

and id. at 25 (Stevens, J., dissenting) (agreeing with Justice Souter on this point).

The Eleventh Circuit has not conclusively ruled on this issue in this context, but

the court has put its foot in Justice Souter’s camp, in the somewhat analogous

context of extradition proceedings. See Harden v. Pataki, 320 F.3d 1289, 1298-99

(11th Cir. 2003).2

         In sum, it is unclear whether plaintiff is still in custody on the violation

charge, and it is unclear whether, if he is not, this renders Heck inapplicable.

         Ultimately, all of this does not matter. Plaintiff’s assertion is that his

constitutional rights were violated when he was held to have violated his

conditions of supervision based on a drug test plaintiff says was deficient. This is,



         2
        The circuits are split on this issue, with some following the majority
opinion in Heck, and others following the more recent statements of five justices in
Spencer. Compare Nonnette v. Small, 316 F.2d 872, 876 (9th Cir. 2002)
(reviewing Heck and Spencer and holding that where plaintiff was no longer
incarcerated, he could maintain §1983 action), Jenkins v. Haubert, 179 F.3d 19, 27
(2d Cir. 1999) (“[W]e find that to apply the Heck rule . . . would contravene the
pronouncement of five Justices that some federal remedy—either habeas corpus or
§1983—must be available.”), and DeWalt v. Carter, 224 F.3d 607, 616-17 (7th
Cir. 2000) (reaching same result) with Figueroa v. Rivera, 147 F.3d 77, 81 (1st Cir.
1998) (applying Heck to §1983 plaintiff no longer in custody) and Randell v.
Johnson, 227 F.3d 300 (5th Cir. 2000) (same) (per curiam).
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at bottom, not a challenge to actions of a probation officer—plaintiff consented,

after all, to the drug test—but to the evidentiary rulings and findings of fact of the

state court that convicted plaintiff of the violation. Plaintiff’s assertion, in essence,

is that the state court got it wrong. Challenges to a state court’s rulings in a

criminal case may be asserted by federal petition for writ of habeas corpus, but

nothing authorizes relitigation of such issues in a federal civil rights action. To the

contrary, federal district courts do not sit as appellate courts reviewing state court

rulings, separate and apart from the review available on habeas. See Rooker v.

Fidelity Trust Co., 263 U.S. 413, 44 S. Ct. 149, 68 L. Ed. 362 (1923); District of

Columbia Court of Appeals v. Feldman, 460 U.S. 462, 103 S. Ct. 1303, 75 L. Ed.

2d 206 (1983); Exxon Mobil Corp. v. Saudi Basic Indus. Corp., 125 S. Ct. 1517

(2005).3


         3
        The Rooker-Feldman doctrine is more often applied when a party seeks
review in federal district court of a state court ruling in a civil case, but the same
principles are fully applicable in the criminal context, except to the extent that
federal review is available on habeas. See, e.g., Heck v. Humphrey, 512 U.S. 477,
485-86, 114 S. Ct. 2364, 2371-72, 129 L. Ed. 2d 383 (1994) (citing Rooker as
supporting “finality and consistency” and stating that the Court “has generally
declined to expand opportunities for collateral attack”); Hood v. Keller, 341 F.3d
593, 597-98 (6th Cir. 2003) (allowing suit to proceed and concluding Rooker-
Feldman did not bar the action because Hood was not challenging his state
criminal conviction); In re Gruntz, 202 F.3d 1074, 1079 (9th Cir. 2000) (noting
that by providing habeas procedures, Congress created a comprehensive scheme
for review of state court criminal judgments separate from the strictures of the
Rooker-Feldman doctrine); Evans v. Outagamie County, 202 F.3d 272, at *3 (7th
Cir. Dec. 10, 1999) (unpublished table op.) (affirming district court’s dismissal of
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         Thus, whatever might be said of the ability of a convicted state criminal

defendant (after release from custody but while the conviction remains intact) to

bring a federal civil rights action challenging conduct of law enforcement officers

or others that led to the state conviction, it is clear that such an action cannot be

brought to challenge rulings of the state court itself. If the state court made an

erroneous ruling, the state court defendant’s remedy is to appeal, not to a federal

district court, but within the state system.

         Finally, to the extent plaintiff seeks future injunctive relief—a change in

defendant’s testing procedures—rather than an award of damages, plaintiff’s claim

also is subject to dismissal for lack of standing and ripeness.4



claim under Rooker-Feldman because Evers “‘may not use a civil action to
challenge a criminal conviction she never sought to appeal’”) (internal citation
omitted); Gu v. Mun. Gov’t, 113 F.3d 1229, at *3 (2d Cir. May 23, 1997)
(unpublished table op.) (“[T]he district court lacks jurisdiction to the extent that Fei
Gu desires the district court to review the state criminal court proceedings or to set
aside the state court decision.”) (citing Rooker and Feldman); Nesses v. Shepard,
68 F.3d 1003, 1004 (7th Cir. 1995) (remarking that “the Rooker-Feldman doctrine,
if it is to be kept distinct from res judicata . . . , ought to be confined to cases in
which the defendant in the state court is seeking to undo a remedial order of some
sort (ordinarily a criminal conviction or an injunction)”).
         4
         Plaintiff has made no showing of any likelihood that a false positive will
result from any future drug test he might be required to take or that a state court
will improperly admit evidence so unreliable as to violate constitutional standards.
And if a state court does admit evidence improperly, plaintiff’s remedy will be, as
it was this time, to appeal within the state system and, if necessary, to seek review
in the United States Supreme Court by petition for writ of certiorari.
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         For these reasons,

         IT IS ORDERED:

         The report and recommendation (document 6) is ACCEPTED. The clerk

shall enter judgment stating, “This action is dismissed for lack of jurisdiction.”

The clerk shall close the file.

         SO ORDERED this 16th day of May, 2005.

                                              s/Robert L. Hinkle
                                              Chief United States District Judge




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